                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                              Magistrate Judge Scott T. Varholak

Civil Action: 24-cv-00968-GPG-STV                        Date: February 11, 2025
Courtroom Deputy: Sonia Chaplin                          FTR – Reporter Deck-Courtroom A402

 Parties:                                                   Counsel:

 EZAMIKA BROWN,                                             Pro Se (by phone)

      Plaintiffs,

 v.

 MARQUEZ, et al.,                                           Abigail Leah Smith
                                                            Joshua G. Urquhart

      Defendants.


                         COURTROOM MINUTES/MINUTE ORDER

MOTION HEARING
Court in session:    11:31 a.m.
Court calls case. Appearances of counsel and Pro Se Plaintiff, Ezamika Brown.

This matter is before the Court on Plaintiff's Motion for Extension of Time [ECF Doc. No 47,
filed on 1/13/2025].


For the reasons stated on the record, it is:

ORDERED:                Plaintiff's Motion for Extension of Time [ECF Doc. No 47] is
                        GRANTED.

                        The discovery deadline is extended to May 19, 2025 and the dispositive
                        motions deadline is extended to June 20, 2025.

                        The Clerk of Court is directed to appoint pro bono counsel to Mr. Brown.

                        Mr. Brown shall file a Notice providing Nurse Ramona’s last name.
                        Defense counsel shall file a Notice to accept service if the defendant is
                        employed with the CDOC or a Notice to inform the Court the defendant is
                        an independent contractor.
                       A Status Conference is set for March 20, 2025 at 9:00 a.m. in Courtroom
                       A 402 before Magistrate Judge Scott T. Varholak.


HEARING CONCLUDED.

Court in recess:       11:44 a.m.
Total time in court:   00:13

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755-4536 or AB Litigation Services at (303) 629-8534.
